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                IN THE UNITED STATES DISTRICT COURT FOR THE
               MIDDLE DISTRICT OF ALABAMA NORTHERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
vs.                                           ) Case No.: 2:21-cr-49-MHT-JTA-6
                                              )
THOMAS MICHAEL SISK,                          )
                                              )
               Defendant.                     )
                                              )

                               CONSENT TO VIRTUAL PLEA

       COMES NOW, the Defendant, THOMAS MICHAEL SISK, by and through his
undersigned attorney, files this his Consent to Virtual Plea on April 8th, 2021 at 2:00 p.m.

       Done on this the 2nd day of April 2021.

                                              /s/ Russell W. Crumbley
                                              _________________________________
                                              RUSSELL W. CRUMBLEY (CRU013)
                                              Attorney for Defendant
                                              2304 Memorial Parkway SW
                                              Huntsville, Alabama 35801
                                              Telephone: (256) 539-4464
                                              Facsimile: (256) 539-4462
                                              Email: crumbleylaw@gmail.com

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been served on the Acting United
States Attorney, by electronic notification via CM/ECF done on this the 2nd day of April 2021.

                                              /s/ Russell W. Crumbley
                                              _________________________________
                                              Russell W. Crumbley
